                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

David W. Lynas, as Trustee for the next-of kin of
James C. Lynas,                                              Civ. No. 18-2301 (JRT/KMM)

                                        Plaintiff,

v.                                                           ORDER APPROVING
                                                             PETITION FOR
                                                             SETTLEMENT
                                                             DISTRIBUTION
Linda S. Stang, et al.,

                            Defendants.
_______________________________________

         This matter is before the Court on Plaintiff’s Petition for Approval of Settlement

Distribution (Docket No. 123). Having carefully considered the Petition and based upon all

the files, records, and proceedings herein, IT IS ORDERED:

         1.     The Petition (Docket No. ___) and the distribution proposed therein are

APPROVED;

         2.     Distribution of the $2,300,000.00 settlement proceeds shall be made as

follows:

                a.        $1,112,604.69 to Robins Kaplan LLP for attorneys’ fees and costs;

                b.        $126,197.66 to James Lynas’s father, David W. Lynas;

                c.        $126,197.65 to James Lynas’s mother, Jeri Ann Holmberg;

                d.        $50,000.00 to James Lynas’s half-sister, Charity Anne Brown f/k/a
                          Shaffer; and

                e.        $885,000.00 to USAA Annuity Services Corporation by MEnD’s
                          insurer Ironshore Specialty Insurance Company (“Ironshore”) to fund

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                  a structured settlement annuity that will provide future periodic
                  payments, as follows:

                  PAYEE: David Walter Lynas FBO Nevaeh M. Lynas
                  $690.00 per month for seven (7) years and six (6) months (90
                  payments) guaranteed, commencing 3/1/2021, with the last guaranteed
                  payment on 8/1/2028.
                  PAYEE: Nevaeh M. Lynas
                  $3,298.82 per month for seven (7) years (84 payments) guaranteed,
                  commencing 8/18/2028, with the last guaranteed payment on
                  7/18/2035;
                  $100,000.00 guaranteed lump sum payment on 8/18/2034;
                  $150,000.00 guaranteed lump sum payment on 8/18/2037;
                  $200,000.00 guaranteed lump sum payment on 8/18/2040;
                  $250,000.00 guaranteed lump sum payment on 8/18/2042; and
                  $300,000.00 guaranteed lump sum payment on 8/18/2045.

                  Any payments to be made after the death of Nevaeh M. Lynas shall be
                  made to David Walter Lynas (primary beneficiary), if living, otherwise
                  to Jeri Ann Holmberg (contingent beneficiary), if living, otherwise to
                  Charity Anne Brown (tertiary beneficiary), if living, or to such person
                  or entity as shall be designated in writing by Nevaeh M. Lynas, upon
                  reaching the age of majority.
                  No payee shall have the right or power to sell, mortgage, encumber, or
                  anticipate the periodic payments provided for above or any part
                  thereof, by assignment or otherwise.
                  The obligation to make the periodic payments described herein will be
                  assigned by Ironshore under the meaning of IRC Sec. 130, to USAA
                  Annuity Services Corporation (the “Assignee”) and funded by an
                  annuity contract issued by USAA Life Insurance Company (the
                  “Annuity Issuer”).



Dated: December ___, 2020       ___________________________________
                                JOHN R. TUNHEIM
                                Chief United States District Judge




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